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              EXHIBIT 17
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                              EXPERT REPORT OF
                           PATRICK W. LAPPERT, M.D.
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                    BACKGROUND AND QUALIFICATIONS

       1.      I am a retired plastic surgeon, as well as a retired senior medical officer

in the United States Navy. I have been a physician for 40 years. I have been Board

Certified in Surgery (American Board of Surgery, 1992-2002) and Plastic Surgery

(American Board of Plastic Surgery, 1997-2018). My professional background, ex-

perience, and publications are detailed in my curriculum vitae, which is attached to

this report.

       2.      I have been retained by counsel for Defendants in the above-captioned

lawsuit to provide an expert opinion concerning the nature of gender surgeries. My

opinion will be based primarily on my own experience as a physician and surgeon,

as well as the relevant literature in this area. I have also reviewed the expert reports

of Dr. Armand Antommaria, Dr. Daniel Shumer, Dr. Meredithe McNamara, Dr.

Aron Janssen, and Dr. Morissa Ladinsky. I may wish to supplement my opinions or

the bases for them as new research is published or in response to statements made in

my area of expertise.

       3.      I have offered testimony, both written and in person, on this issue to

state legislators, state health benefits management agencies, and State Attorneys

General.

       4.      I have testified at trial or deposition in the following cases:




                                             3
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            a. Brandt v. Rutledge, No. 4:21-CV-00450-JM (E.D. Ark. filed May 25,
               2021).

            b. Kadel v. Folwell, No. 1:19-CV-272 (M.D.N.C. filed Mar. 11, 2019).

            c. Dekker v. Weida, No. 4:22-CV-00325-RH-MAF (N.D. Fla. filed Sept.
               7, 2022).

            d. Siefert v. Hamilton Cnty. Bd. of Commissioners, 354 F. Supp. 3d 815
               (S.D. Ohio 2018).

       5.      I have also had experience in making judgements concerning distinc-

tions between reconstructive surgery and cosmetic surgery. I gained this experience

while serving in senior leadership for a government medical care system in which I

had no financial stake. I have no financial interests in the matter in question, and the

professional opinion that I offer is not influenced by my sources of income nor by

my position in any organization that financially benefits from medical services that

are discussed in this opinion.

       6.      For my services as an expert witness, I am being compensated at an

hourly rate of $400 for preparation of my written testimony as well as for deposition

and hearing. Additionally, my travel expenses will be reimbursed. My compensation

is not dependent upon the substance of my opinion nor upon the outcome of the

litigation.

       7.      If called to testify in this matter, I will do so truthfully and to the best

of my ability.




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      8.     I completed my undergraduate education at the University of Califor-

nia, Santa Barbara. While there, I had significant experience in university-level re-

search, having been invited to be an undergraduate research assistant working in the

laboratory of Dr. Philip C. Laris. It gave me experience in the evaluation of research

publications. We were involved in the collaborative work of elucidating the electro-

dynamic and stoichiometric quantification of the sodium and potassium pump, lo-

cated in every living cell. I completed my undergraduate degree in four years and

went directly to medical school.

      9.     I completed my preliminary medical training while on active duty in

the US Navy. I attended the Uniformed Services University of the Health Sciences,

F. Edward Hebert School of Medicine, graduating as Doctor of Medicine in 1983.

      10.    I completed a surgical internship at the Oakland Naval Hospital, fol-

lowed by Aerospace Medicine/Flight Surgeon Training at the Naval Aerospace

Medical Institute, Naval Air Station Pensacola.

      11.    I then served for 2 1/2 years with a deploying, front-line Marine Corps

fighter squadron, serving in the dual functions of medical department head and

squadron Radar Intercept Officer flying in the F-4 Phantom. I was deployed to Asia

and the Western Pacific. I provided medical care to squadron personnel while de-

ployed in Japan, Korea, and the Philippines.




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      12.    I completed my General Surgery residency at the Oakland Naval Hos-

pital-University of California, Davis/East Bay Consortium. Following residency, I

was retained there as a staff surgeon and was responsible for the training of surgical

residents. I was awarded the inaugural “Resident’s Choice” award given to the at-

tending surgeon deemed most effective by the residents in training; the award was

presented by Claude Organ, MD, a past President of the American College of Sur-

geons.

      13.    I trained in Plastic and Reconstructive Surgery at the University of Ten-

nessee, Memphis, graduating in 1994. During that training I traveled to Peru and

provided craniofacial surgical care for indigent Peruvian children. This included the

publication of a case report of surgical management of a very late post-traumatic

ectopic frontal sinus mucocele.

      14.    I received Board Certification in General Surgery from the American

Board of Surgery in 1992. I received Board Certification in Plastic and Reconstruc-

tive Surgery in 1997 from the American Board of Plastic Surgery. I re-certified in

Plastic and Reconstructive Surgery in 2008.

      15.    I served as a staff plastic surgeon at Naval Hospital Portsmouth, Vir-

ginia from 1994 to 2002. I became Department Chairman in 1998 and served in that

office until my retirement. We had five staff plastic surgeons and 10 enlisted and

civilian members. I established the Wound Care Center, providing specialized



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wound care services to a global catchment area. For example, our department was

responsible for the limb and pelvic reconstruction of some of the sailors wounded

when the USS Cole was attacked while at anchor at Aden in Yemen. I also estab-

lished and chaired the multi-disciplinary Cleft Palate, Craniofacial Board. We pro-

vided comprehensive services for congenital pediatric deformities to a global catch-

ment area.

      16.    Following selection to the rank of Captain, USN, I was selected to serve

as Specialty Leader, Plastic and Reconstructive Surgery for the office of the Surgeon

General, USN. In addition to being responsible for the selection and training of sur-

gical residents, I was also responsible for Navy Medical Department policy concern-

ing coverage for services and medical evaluation and evacuation policy. I served in

that position until my retirement. While serving as Department Chairman, I co-au-

thored a textbook chapter on the management of combat injuries with the Chairman

of Plastic Surgery at Harvard University, Dr. Eloff Ericksson. During that time, I

also published the first case report in the world literature detailing the use of endo-

scopic technique for reduction and plate fixation of a fronto-facial fracture.

      17.    I retired from the Navy after 24 years of continuous active duty. I was

invited to join a surgical group in Scottsbluff, Nebraska, primarily to provide com-

prehensive reconstructive surgery for women suffering breast cancer. I also provided

reconstructive services to a very large regional catchment served by the Level II



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trauma center at Regional West Medical Center (RWMC). I established and chaired

the Cleft Palate/Craniofacial multi-specialty clinic at RWMC. I also established

comprehensive wound care services for the many rural community hospitals in the

western prairie including Nebraska, Eastern Wyoming, southwest South Dakota, and

northeast Colorado.

       18.    I moved my practice to northern Alabama in 2005. I have been a solo

practitioner in Alabama for the last 18 years. I was brought here by a local hospital

that wanted to offer comprehensive breast reconstruction to women affected by

breast cancer. I co-authored a groundbreaking article regarding pre-operative plastic

surgical planning in the care of women suffering from breast cancer. It is among the

most frequently cited papers in the field of breast reconstruction.1

       19.    I also started a comprehensive wound care center in Alabama and have

had a very active practice in aesthetic/cosmetic surgery. I maintained my own surgi-

cal suite for in-office facial rejuvenation procedures as well as minimally invasive

body contouring procedures. I was an early adopter of advanced techniques in au-

tologous fat grafting for facial re-contouring as well as for the resolution of radiation

burn wounds of the skin. I continued to serve in the training of medical students in

my office practice.


1
 Modified Skin Incisions for Mastectomy: The Need for Plastic Surgical Input in Pre-Operative
Planning, Toth, B.A. and Lappert, P., Plastic and Reconstructive Surgery, 87, 1048-1053.
http://dx.doi.org/ 10.1097/00006534-199106000-00006.


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      20.    Although I maintain a practice in wound consultation, skin care, and

laser services, I retired from my surgical practice in 2020, after having practiced as

a plastic and reconstructive surgeon for 30 years. I was an Active Member in good

standing of the American Society of Plastic Surgery for all but the last two years in

practice.

      21.    With only two years remaining in my practice, I elected to forgo a third

certification by the American Board of Plastic Surgery. The certification was no

longer necessary for maintaining my hospital credentials, and I saw it as an unjusti-

fiable expense for a solo practitioner planning retirement.

      22.    As can be gleaned from this summary, I have a meaningful breadth of

experience in the advanced surgical care of trauma, cancer, head/neck disease, and

cranial and facial birth defects. Many of those procedures require the use of the most

advanced sensate, microvascular flaps, including composite and pre-fabricated flaps.

These are the same techniques employed by today’s gender surgeons.

      23.    Since 2014, I have made a concerted effort to examine the medical lit-

erature pertaining to the care of self-identified transgender persons, including chil-

dren and adults. I have had an eight-year-long running discussion on these issues

with family practitioners, pediatricians, pediatric and adult psychologists and psy-

chiatrists, pediatric endocrinologists, as well as PhDs who specialize in the evalua-

tion of the validity of scientific publications. During that time, I have made many



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public presentations to teachers, counselors, and administrators on the subject of

transgender care and the medical-scientific evidence that informs that care.

      24.    In 30 years of active practice as a plastic and reconstructive surgeon, I

have never performed any gender affirmation surgery. That is because, while I rec-

ognize gender dysphoria to be a serious psychiatric condition, in my opinion it is

unethical to attempt to treat that psychiatric condition with surgery, just as it is un-

ethical to attempt to treat body dysmorphic disorder with surgery. This will be fully

explained in the course of this opinion. This fact should not exclude me from offer-

ing my expert opinion on the validity and ethics of gender affirmation surgery. All

of the specific procedures, from mastectomy to breast enhancement to genital recon-

struction to complex sensate microvascular flap surgeries, are within the scope of

my experience. In fact, I instructed resident surgeons on these procedures. To claim

that I have no expertise to offer an opinion about gender affirmation care would be

akin to excluding a board-certified neurosurgeon from opining on the merits of

frontal lobotomy, which are too harmful to ethically perform.

                   I.     SURGERY IS PART OF PLAINTIFFS’
                              “STANDARD OF CARE”

      25.    The plaintiffs in this case seek to enjoin enforcement of the VCAP law

in the state of Alabama, claiming that it prevents minor persons from obtaining med-

ical services that are necessary for health and quality of life. They claim that there is

an irrefutable body of scientific evidence to support the position that the treatment


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model called “gender affirmation” is so superior to other established models of care

as to qualify gender affirmation as the standard of care.

      26.     The gender-affirmation model of care includes three distinct elements

that overlap to varying degrees throughout the life of the patient. Those elements are

social transitioning, medical transitioning, and surgical transitioning. All three ele-

ments are based in the same model of care which claims that the condition known as

gender dysphoria is safely and effectively treated by drastically and irreversibly

modifying the appearance of the minor person’s body through the use of powerful

hormonal medications and very aggressive surgical procedures.

   A. Gender Affirmation is a Continuum of Care

      27.    Opinions and testimony concerning gender affirmation surgery are rel-

evant even though plaintiffs have dropped their challenge to the VCAP law’s prohi-

bition of affirmation surgery in minors. Plaintiffs’ decision appears to be an attempt

to make their claim more reasonable by avoiding discussion of the gruesome realities

of gender affirmation care. It must be remembered that the fundamental principle

upon which gender affirmation rests—that the psychological condition of gender

dysphoria is safely and effectively treated by modification of the appearance of the

child’s body, including the use of powerful hormonal drugs and aggressive sur-

gery—is the same in all three elements of social, medical, and surgical transition. If

the gender affirmation of minors is correct on the social level, it must be correct in



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medical transitioning as well, given that the minor was prepared for hormonal ma-

nipulation by the prevenient step of social transitioning. Likewise, the minor is pre-

pared for surgical transitioning by the prevenient step of medical transitioning. Both

steps are supported by the continuing social affirmation of gender identity. All of it

is based on the experimental principle that the medical and surgical modification of

the body will cure a profound emotional condition.

       28.     If the complete and successful transitioning of the minor is the goal,

and if the supporting documents which plaintiffs offer (such as the WPATH Stand-

ards of Care) consider the surgical transitioning of minors to be proven safe and

effective treatment (which the WPATH Standards do), then we must examine the

issue of affirmation surgery given the fact that so many minor patients undergo—or

will in the future undergo—surgery.2 While breast surgery has been the most com-

mon gender-transition surgery, genital surgery on self-identified transgender adoles-

cents is reported in the literature.3 The fact that genital surgery is routinely performed




2
  E.g., Chest reconstructive surgeries in transmasculine youth: Experience from one pediatric cen-
ter, Marinkovic M, Newfield R, Published 19 July 2017 Medicine International Journal of
Transgenderism DOI:10.1080/15532739.2017.1349706 (describing mastectomies in adolescents
ranging in age from 13 to 19); WPATH Standards of Care Version 8, Statement 6.12.g (recom-
mending gender-affirmation surgery on adolescent minors).
3
  E.g., Age Is Just a Number: WPATH-Affiliated Surgeons’ Experiences and Attitudes Toward
Vaginoplasty in Transgender Females Under 18 Years of Age in the United States, Milrod C and
Karasic DH, J. Sex. Med. 2017; 14(4): 624-34. doi: 10.1016/j.jsxm.2017.02.007; Transgender
adolescents and genital-alignment surgery: Is age restriction justified?, Horowicz E, Clinical
Ethics 2019; 14(2): 94-103. doi: 10.1177/1477750919845087.


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on minors is evidenced by the fact that the WPATH Standards of Care describe it as

a part of the affirmation surgery guidance.4

       29.     This continuum of care is particularly evident when care is begun in

early childhood. The rate at which patients continue from one phase to another is

very high. Young children started on social affirmation and transition have a very

high likelihood of continuing on to puberty blockade. Singh, Bradley, and Zucker

state that socially transitioned boys are over 80% likely to persist in gender dyspho-

ria and so continue on to medical transitioning.5 And as the Interim Cass Review in

the UK recently found, “almost all children and young people who are put on puberty

blockers go on to sex hormone treatment.”6

       30.     It is remarkable that plaintiffs’ experts claim that puberty blockade and

cross-sex hormones reduce the likelihood that patients will seek surgery later in life

(Shumer p.22; McNamara p.13; Ladinsky p.23). The use of high-dose testosterone

in natal females seeking to present as men has been clearly demonstrated to increase

the likelihood of surgical removal of ovaries, uterus, and vagina because it produces


4
  WPATH Standards of Care Version 8, Statement 6.12.g.
5
  A Follow-Up Study of Boys With Gender Identity Disorder, Singh D, Bradley SJ and Zucker KJ
(2021), Front. Psychiatry 12:632784. doi: 10.3389/fpsyt.2021.632784 (“Steensma et al. found two
other predictors of persistence: boys who were assessed at an older age and boys who had made
either a partial or complete gender ‘social transition.’ Of the 12 boys who had partially or com-
pletely transitioned prior to puberty, 10 (83.3%) were classiﬁed as persisters. In contrast, of the 67
boys who had not socially transitioned, only 13 (19.4%) were classiﬁed as persisters.”).
6
  The Cass Review: Independent review of gender identity services for children and young people:
Interim report, Hilary Cass (Feb. 2022), https://cass.independent-review.uk/publications/interim-
report/.


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the conditions of polycystic ovary syndrome, uterine atrophy, and vaginal atrophy.

Likewise, such treatment produces fibrous involutional breast atrophy 7,8,9,10,11 In the

case of young males hoping to present as adult females, the well-known additional

effect is to exclude the possibility of one surgery (penile inversion vaginoplasty,

which would normally be an available method in adult males), necessitating other

risky surgeries, such as proximal thigh flap and large bowel interposition flap vagi-

noplasty.12 This is because early hormonal treatment of natal males results in the

underdevelopment of the genital and inadequate tissue to create the counterfeit

vagina.

       31.    Plaintiffs’ expert Dr. Shumer claims (Shumer p. 32) that “there is not

an assumption that a patient prescribed GnRHa (puberty blockade) will desire hor-

monal therapy in adolescence (cross-sex hormones).” Dr. Shumer’s assumptions

notwithstanding, the medical literature consistently shows approximately 96.5% to



7
  Labrie F. Progress in Brain Research Vol. 182, pp. 97-148 (2010).
8
  Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons, Radix A, Davis AM,
JAMA.2017;318(15):1491–1492. doi:10.1001/jama.2017.13540.
9
  Long-term health consequences of premature or early menopause and considerations for man-
agement, Faubion SS, Kuhle CL, Shuster LT, Rocca WA, Climacteric. 2015;18(4):483–491.
doi:10.3109/13697137.2015.1020484.
10
   Cardiovascular Disease Risk Factors and Myocardial Infarction in the Transgender Population,
Alzahrani, Talal, et al. Circulation: Cardiovascular Quality and Outcomes, vol. 12, no. 4, 2019,
doi:10.1161/circoutcomes.119.005597.
11
   Breast cancer risk in transgender people receiving hormone treatment: nationwide cohort study
in the Netherlands, Christel J M de Blok, et al., BMJ 2019; 365. https://www.bmj.com/con-
tent/365/bmj.l1652.
12
   Current Approach to the Clinical Care of Adolescents with Gender Dysphoria; Acta Biomed,
Kyriakou A, Nicolaides N, Skordis N., 202;91 (1): 165-175.


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98% of children who are started on puberty blockers will continue on to cross-sex

hormones.13

        32.   When puberty blockade results in underdevelopment of the child at

every level, and since the desire for cross-sex presentation is often the primary out-

come that patients and parents have been offered, the next step of cross-sex hor-

mones is started. Similarly, when cross-sex hormones have manifested the fullness

of their effects on the minor’s appearance, yet the dysphoria remains because the

adolescent’s appearance isn’t yet sufficient to “affirm” their subjectively perceived

gender, then surgical transitioning often begins.

        33.   In the paper by Olson-Kennedy et al., which will be discussed in detail

below, the authors note that cross-sex hormones (there, testosterone) resulted in an

increase in “chest dysphoria,” which in turn presented a greater motivation for sur-

gery as the result of hormone treatment.14 This is why affirmation care must be

viewed as a continuum. Advocates of affirmation often dismiss all other forms of

care outside the continuum as abusive and emphasize this idea with patients, parents,

and the broader world. This continuum extends into the area of medical and surgical

complications and the need for continuing medical and surgical interventions.


13
   The Cass Review: Independent review of gender identity services for children and young people:
Interim report, Hilary Cass (Feb. 2022), https://cass.independent-review.uk/publications/interim-
report/.
14
   Chest Reconstruction and Chest Dysphoria in Transmasculine Minors and Young Adults: Com-
parisons of Nonsurgical and Postsurgical Cohorts, Johanna Olson-Kennedy J., Warus J, Okonta
V, Belzer M, and Clark LF, 2018 May 1;172(5):431-436. doi: 10.1001/jamapediatrics.2017.5440.


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     B. Surgery in the Continuum of Care (Including Among Minors)

        34.   The body of literature cited in support of gender affirmation care, such

as the WPATH Standards of Care, consistently supports surgical “affirmation” in

minor persons. Those surgeries include surgery of the breast and genital surgery.

While Version 7 of the WPATH Standards of Care recommended age 13 as the lower

limit for mastectomy in self-identified transgender males (i.e., natal females), among

the changes in Standards of Care 8 is that it no longer contains any reference to age

limitation for gender affirmation surgery. Both versions support these surgeries with

the same citations, which are Level-V case-series retrospective reports that include

mastectomy in natal females as young as 13 and averaging less than 19 years old.

Moreover, recent papers suggest that any lower limit on ages at which children might

undergo these irreversible genital surgeries can be thought of as subject to individual

clinical decisions.15 This approach of essentially ignoring age limits as set out in the

WPATH Standards of Care for the sake of particular patients makes meaningless the

very definition of a “standard of care.” The words “standard of care” are used to

describe conduct of care that is not subject to clinical judgement and which, if ig-

nored, has a high likelihood of harm to the patient.



15
  Age Is Just a Number: WPATH-Affiliated Surgeons’ Experiences and Attitudes Toward Vagi-
noplasty in Transgender Females Under 18 Years of Age in the United States, Milrod C and
Karasic DH, J. Sex. Med. 2017; 14(4): 624-34. doi: 10.1016/j.jsxm.2017.02.007; Transgender
adolescents and genital-alignment surgery: Is age restriction justified?, Horowicz E, Clinical
Ethics 2019; 14(2): 94-103. doi: 10.1177/1477750919845087.


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      II.         CHARACTERISTICS OF GENDER AFFIRMATION SURGERIES

     A. Problems in Gender Affirmation Surgeries

            35.     The predominant demographic of new patients in pediatric gender clin-

ics is adolescent natal females, and the most common surgery performed on these

females is called “chest masculinization.” This surgery involves the complete re-

moval of both breasts, the placement of free-nipple grafts, and chest wall liposuc-

tioning. In addition to the broad and life-long scars, the minor patient loses the ability

to breast feed. Additionally, erotic sensibility of the chest is lost due to the amputa-

tion of the fourth intercostal nerve branches. Cosmetic breast augmentation for any-

thing other than congenital breast deformities (such as Poland Syndrome) in minors

is not considered ethical professional conduct.16 Yet this surgery is promoted as a

standard of care by WPATH based upon the lowest level of scientific evidence. Such

evidence is insufficient even to suggest ethical experimental design. It presents no

long-term data to support efficacy in resolving suicide risk or any other long-term

benefit since none of the cited studies follows the patients for more than 3 to 5 years.

            36.    Gender affirmation surgery of the genital is even more concerning. For

natal males, all such surgeries involve castration—the removal of the testicles and

mutilation of the penis in natal males. For females, such surgeries require removal




16
  Considerations in Breast Augmentation in the Adolescent Patient, Jordan SW and Corcoran J,
Seminars in Plastic Surg. 2013; 27(1): 67-71. doi: 10.1055/s-0033-1343998.


                                              17
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of ovaries, fallopian tubes, uterus, and vagina. This results in reproductive sterility

and life-long medical dependance on prescribed hormones with their associated risks

described above.

        37.   Most genital surgeries involve the distal urinary tract, and there are fre-

quent complications of urinary fistulas (leakage of urine through the skin), urinary

obstruction caused by scarring, urinary tract infections, and need for re-operation to

correct these complications. Similar processes in male to female genital surgery can

result in fecal fistulas (or connections) due to communication between the neo-vag-

inal construct and the lower bowel. Loss of urinary continence, extrusion of im-

planted devices, re-operation to maintain patency of the neo-vaginal construct, and

the need for daily self-dilation to maintain the dimensions of the structure are typical.

Significant if not complete loss of erotic arousability is typical. If the patient has

previously undergone puberty blockade at Tanner Stage 2 and cross-sex hormonal

treatment, then loss of orgasmic capacity is a near certainty.17

        38.   Comparable issues in transgender versus reconstructive surgery can be

seen by comparing identical operations. On several occasions I have performed the

reconstructive surgery called “sensate radial-forearm microvascular free flap



17
   Abigail Shrier, Why Marci Matters (Oct. 6, 2021), https://abigailshrier.substack.com/p/why-
marci-matters; Libby Emmons, ‘Gender-affirming’ Surgeon Admits Children Who Undergo Tran-
sition Before Puberty Never Attain Sexual Satisfaction (May 1, 2022), https://thepostmillen-
nial.com/gender-affirming-surgeon-admits-children-who-undergo-transition-before-puberty-
never-attain-sexual-satisfaction.


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hypopharyngeal reconstruction.” I operated to reconstruct the tongue and throat of

patients who had suffered a grievous wound of the mouth and throat that resulted

from removal of an aggressive cancer. We selected an area of skin on the inside of

the forearm that has regular and robust blood flow, is thin and durable, and has an

easily dissected sensory nerve that can be attached to the nerves in the wound. The

forearm flap satisfied all the requirements. An operation of this complexity, duration,

and technical requirements has many issues, big and small, that can diminish or de-

stroy the result.

       39.    That throat reconstruction operation is in almost every way identical to

the second most commonly performed female-to-male genital surgery, the “sensate

radial forearm microvascular free flap phalloplasty.” In that operation, the identical

flap is raised and transferred. It also must be resistant to abrasion, water tight, pliant,

sensate, and of correct volume. Through a process of incision, plication, and sutur-

ing, a tubular phallus is constructed within which is placed a skin lined tube which

will serve as the urethra. The suture closures in both flaps are where most things go

wrong because the skin edges that define the suture line can lose sufficient blood

supply. When this happens in the phalloplasty the patient suffers from delayed heal-

ing, urine leakage, varying degrees tissue death, and scarring. All those problems

can happen with either the throat flap or phallus flap. When the phallus flap fails,

the patient suffers due to varying degrees of tissue loss, chronic urinary leakage, or



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urinary obstruction due to scarring that can cause kidney injury if left untreated.

When the throat flap fails, bacteria laden saliva will leak into the neck where it can

cause fulminant infections or erode into a major artery and cause the patient to bleed

to death in a matter of moments. A singularly terrible event.

      40.    Notably, in the case of the throat operation, if the removal of the cancer

had not been performed, there was a known and significant probability that the can-

cer would have eroded into the tissues of the neck and caused a fulminant infection,

or eroded into a large blood vessel, as described above. In contrast, if the phallus

flap operation had not been performed, the patient would have remained fully func-

tional in every human capacity, though suffering from an inner subjective disturb-

ance called gender dysphoria, which had not yet been adequately addressed with

psychiatric care.

      41.    Both operations involve the use of highly complex surgical techniques

to remedy a wound. In the case of the cancer operation the wound was the result of

a cancer that would have ended in a terrible death. In the case of the phallus operation

the surgeon is creating multiple physical wounds (castration, loss of pelvic organs

of reproduction, degloving injury of the forearm, skin graft donor site injury), with

their associated risks of complications. The surgery is performed in an attempt to

remedy a subjective, patient-reported sense of their identity.




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     B. Problems of Surgical Consent

        42.   Whereas typical patients undergoing mastectomy have historically

been middle-aged, and already a mother, in the case of the transgender patient, they

are typically young, nulliparous females even as young as 14 years old.18 The pur-

ported justification for the surgery is the severe emotional distress of the patient,

often including suicidal ideation, or even a history of suicide attempt. In all other

areas of surgery, a patient who reports major depression, anxiety, suicidal ideation,

or suicide attempt would be considered incompetent to give informed consent for

surgery. They would be referred for psychiatric care, which, if successful in resolv-

ing the depression, anxiety, and suicidal ideation, would remove the only claimed

indication for the surgery in the first place.19,20

     C. Erroneous Use of the Word “Reconstructive” to Describe Gender
        Affirmation Surgeries

        43.   Those in favor of “gender-affirming” surgeries often use the word “re-

constructive” to characterize a group of surgical treatments that seek to alter the




18
    Behavioral Health Concerns and Eligibility Factors Among Adolescents and Young Adults
Seeking Gender-Affirming Masculinizing Top Surgery, Boskey ER, et al., LGBT Health 2020;
7(4). https://doi.org/10.1089/lgbt.2019.0213.
19
   See Cosmetic Surgery and Body Dysmorphic Disorder – An Update, Higgins S and Wysong
A, Int’l J. Womens’ Dermatol. 2017; 4(1): 43-48. doi: 10.1016/j.ijwd.2017.09.007; Body
Dysmorphic Disorder, Bjornsson AS, et al., Dialogues Clin. Neurosci. 2010; 12(2): 221-32.
doi:10.31887/DCNS.2010.12.2/abjornsson.
20
   Body Dysmorphic Disorder and Cosmetic Surgery, Crerand CE, et al., Plastic & Reconstructive
Surgery. 2006; 118(7): p 167e-180e. doi: 10.1097/01.prs.0000242500.28431.24.


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sexed appearance of the person.21 It is important to understand that these procedures,

because of the indications for surgery, the motivations for surgery, and the outcomes

of surgery, are not reconstructive, but are properly understood to be cosmetic in na-

ture.

        44.    Cosmetic and reconstructive surgery are distinct. Reconstructive sur-

gery is surgery that aims at the structural and functional restoration of what has been

lost due to trauma, infection, cancer care, or developmental condition. It always in-

volves measurable structural and functional problems that surgery is designed to

correct or restore. The physician can discover the condition through the physical

examination of the patient and can quantify the deformity both by physical dimen-

sion and functional deficit.

        45.    By contrast, in aesthetic or cosmetic surgery, there is no objective phys-

ical criteria for the diagnosis. The patient presents with a subjective complaint rang-

ing in severity from annoyance to profound sorrow concerning the appearance of

certain features of their physical appearance. They seek to change the appearance of

those features in the hope of obtaining happiness and relief from their emotional

burden. The most essential criteria in selecting patients for cosmetic surgery is that


21
  Gender Confirmation Surgery: Cosmetic or Reconstructive Procedure?, Laungani A and Bras-
sard P, Plastic & Reconstructive Surgery – Global Open: 2017 Jun; 5(6): p e1401.
doi:10.1097/GOX.0000000000001401. Members of the American Society of Plastic Surgery are
encouraged to “interpret” for lay persons and other medical specialists that, although normal anat-
omy and function is being manipulated for a cosmetic result, the procedures should be labeled
“reconstructive.”


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it be offered only if the physical change is reasonable, does not involve harm or loss

of function, and is likely to result in subjective improvement. It is axiomatic in plas-

tic surgery that the more profound the sorrow the patient associates with their ap-

pearance, the less likely it is that the patient will obtain happiness (relief from dys-

phoria) from surgery. To expect resolution of profound emotional conflicts through

the use of cosmetic surgery is unreasonable and contrary to foundational principles

of plastic surgery.

       46.     This is the case for patients seeking “gender affirmation” surgery. The

diagnosis which guides all three elements of affirmation treatment is “gender dys-

phoria.” This diagnostic term is found in the Diagnostic and Statistical Manual of

Mental Disorders. It describes the unhappy subjective life of the person who suffers

distress caused by a felt incongruence between their sex and their gender identity.

The entirety of the presenting complaint of the patient is in their psychological/emo-

tional life.

       47.     When a patient has profound anxiety or sorrow concerning their phys-

ical appearance in the absence of any objective meaningful deformity, their condi-

tion is called “body dysmorphic disorder.” It is foundational to cosmetic surgery that

persons who present with body dysmorphic disorder should not be offered surgery

but should instead be referred for psychological treatment. There is no reason why

this principle should not apply to the hormonal manipulation of the minor as well,



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since the patient is seeking modification of their appearance in the hopes of obtaining

a life-changing effect in their emotional life. The fact that high-dose sex hormones

are being used instead of surgery to achieve the cosmetic result does not mitigate the

ethical problem; it only changes the likely complications given that high-dose sex

steroids have a very high association with heart disease, peripheral vascular disease,

pulmonary embolism, metabolic syndrome with diabetes, elevated cholesterol, obe-

sity, and overall early mortality as cited above.

      48.     Plaintiffs’ expert Dr. Ladinsky (Ladinsky p.23) asserts that “[m]edical

treatment recommended for and provided to transgender adolescents with gender

dysphoria can substantially reduce lifelong gender dysphoria and can eliminate the

medical need for surgery later in life.” (Dr. McNamara makes a similar claim at page

13 of her report.) This is an assertion with no quality evidence to support it. In fact,

Dr. Ladinsky herself offers no citation to support this claim. Practitioners of gender

affirmation care, however, routinely make this assertion while offering only low-

quality, retrospective or case-series data without comparison cohorts, massive self-

selection bias, high drop-out rates, and study periods of only a few years. To assert

that such studies can draw conclusions about lifelong benefit is unsupportable. To

offer no support for this crucial claim in her expert opinion is evidence of the poverty

of scientific support that gender affirmation care has.




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      III.    EVIDENCE DOES NOT SUPPORT “GENDER AFFIRMATION”
                     SURGERIES AS A STANDARD OF CARE

     A. Experimental Practices

        49.    The distinction between medical practices that are experimental versus

those that can be considered proven options of care, or even standards of care, rests

on the quality of the scientific data offered in its support. Historically there have

been occasions of serious harms to patients because a particular medical practice

lacked scientific foundation, even while esteemed experts considered the matter set-

tled in their favor. For example, consider the use of Thalidomide to manage the nau-

sea of pregnancy and the associated disaster of profound arm and hand deformities

that resulted.22 Or the performing of frontal lobotomy to manage emotional condi-

tions.23 The developer of the frontal lobotomy operation received the Nobel Prize.

He was celebrated until the long-term results became better understood. Many pa-

tients suffered permanently debilitating neurological injuries as a result.

     B. Evidence-Based Medicine

        50.    It is in response to such disasters that professional organizations of phy-

sicians and surgeons have developed instruments for determining the quality of sci-

entific evidence, as well as methods of translating the findings of that examination


22
   Thalidomide: the tragedy of birth defects and the effective treatment of disease, Kim JH and
Scialli AR, Toxicol Sci. 2011 Jul;122(1):1-6. doi: 10.1093/toxsci/kfr088.
23
   Spinning lobotomy: A conventional content analysis of articles by the pioneers of the procedure
in the United States, Afkhami AA, Fatollahi JJ, Peace MA, & Yadgar RJ, SSM Mental Health,
Vol. 2, 2022, 100123, ISSN 2666-5603, https://doi.org/10.1016/j.ssmmh.2022.100123.


                                               25
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into safe and effective decision making by practitioners. This process is given the

name “evidence-based medicine.” In recent years, professional medical societies

have been making a concerted effort to strengthen the scientific basis upon which

their particular specialties stand. Evidence-based medicine is a systematic effort to

categorize the quality of prognostic and therapeutic studies so that physicians read-

ing these publications can distinguish what is vague and speculative from what is a

matter of high likelihood or grave certainty. Tools for making such distinctions have

been developed that categorize clinical or experimental findings on the basis of how

that data were obtained, the reliability of the test instruments used, the variability of

the results, the sample size, and the likelihood of bias among other factors. For the

purposes of this response, I will use the tool developed by the American Society of

Plastic Surgery.24,25 For prognostic studies, the categorization of evidence is divided

into Levels I-V, with Level I being the most rigorous and having the highest likeli-

hood of scientific certainty, and Level V having the least rigor and having very little

certainty. Here are the definitions of those levels according to the American Society

of Plastic Surgery:




24
   https://www.plasticsurgery.org/documents/medical-professionals/health-policy/evidence-prac-
tice/ASPS-Rating-Scale-March-2011.pdf
25
   The Levels of Evidence and their role in Evidence-Based Medicine. Burns PB, Rohrich RJ, and
Chung KC, Plast. Reconstr. Surg. 2011 Jul; 128(1): 305–310.


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            a. Level I: High quality prospective cohort or comparative study with

               adequate power or systematic review of these studies.

            b. Level II: Lesser-quality prospective cohort or comparative study, ret-

               rospective cohort or comparative study, untreated controls from an

               RCT (randomized control study), or systematic review of these stud-

               ies.

            c. Level III: Case-control study or systematic review of these studies.

            d. Level IV: Case series with pre/post-test or only post-test.

            e. Level V: Expert opinion developed via consensus process; case report

               or clinical example; or evidence based on physiology, bench research

               or “first principles.”

      51.      These distinctions are very important to physicians who seek to under-

stand the weight of the evidence presented in support of a change in therapeutic care.

Sometimes such scientific findings can be so compelling regarding an issue that pro-

fessional societies will publish clinical guidelines that strongly suggest conformity

to a new treatment plan based in that evidence. Occasionally the evidence will be of

such certainty, on a matter so grave, that professional societies and even public law

will assert that there exists a standard of care based in this evidence that, if ignored,

has a high probability of injury or harm to the patient. That is what is implied when

the phrase “standard of care” is used.



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        52.    To that end, the ASPS document provides a grading system for Practice

Recommendations that helps in decision making. It is a synthesis of the breadth of

scientific data that addresses the issue in question. In the case of Grade A, there is

an accompanying “Strong recommendation,” versus Grade D, where the evidence is

so lacking in empirical value that the proposed treatment can only be offered as an

experimental option if at all because the treatment outcome cannot yet be reasonably

predicted or compared to established methods with known outcomes.

        53.    If a novel treatment for a known condition is proposed, ethical patient

care demands that we examine the reliability of the evidence and compare results of

treatment to the established treatment. In the case of gender dysphoria, there is high-

quality outcomes data that demonstrate successful resolution of sexual identity is-

sues in greater than 80% of minors (over 90% if followed to adulthood) when the

treatment model used is what is called “watchful waiting.”26,27 This process includes


26
   One examination of the result of care that did not include affirmation care is a study from 2013,
which is a long-term prospective study showing that over 80% of children desisted from their
cross-sex self-identification. Essentially, studies like these establish the control group, which pro-
vides a more reliable baseline for comparison. The paper additionally examines multiple published
studies and concludes: “To date, the prospective follow-up studies on children with GD, for whom
the majority would meet the DSM-IV diagnostic criteria for Gender Identity Disorder (GID) col-
lectively reported on the outcomes of 246 children. At the time of follow-up in adolescence or
adulthood, these studies showed that, for the majority of children (84.2%; n= 207), the GD de-
sisted.” Factors Associated With Desistence and Persistence of Childhood Gender Dysphoria: A
Quantitative Follow-Up Study, Steensma TD, Mcguire JK, Kreukels BPC, Beekman AJ, & Cohen-
Kettenis PT, Journal of the American Academy of Child & Adolescent Psychiatry, 52(6), 582-590.
doi:10.1016/j.jaac.2013.03.016.
27
   Endocrine Society Guidelines also support this conclusion: “[T]he large majority (about 85%)
of prepubertal children with a childhood diagnosis (of GD) did not remain gender dysphoric in



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individual cognitive and behavioral psychological care, family therapy, and other

methods all aimed at resolution of the internal psychological conflict concerning the

minor person’s sexed appearance. Furthermore, watchful waiting accomplishes this

without irreversibly sterilizing the minor or iatrogenically harming them with the

disfigurements of surgery as described above.

   C. Watchful Waiting vs. Gender Affirmation

       54.    The watchful waiting treatment model is based in very long-term Level-

III data. Such data are sufficient to drive clinical decision-making as outlined in the

ASPS instrument described above. The gender affirmation model of care must be

compared to the existing watchful waiting/psychotherapeutic model, and the exist-

ing model should be compared with all documents submitted by plaintiffs’ experts,

including the WPATH Standards of Care v.8, and all the publications cited by them.

None of those documents present any evidence above Level-IV, and the bulk of them

are Level-V. This means that, at present in the American medical community, the

transgender treatment model of affirmation rests only on expert opinion (Level-V)

woven into policy statements produced by historically flawed consensus methodol-

ogy and is therefore insufficient to make clinical decisions such as abandoning

watchful waiting in favor of affirmation medicine and surgery.



adolescence.” Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An En-
docrine Society Clinical Practice Guideline, Hembree WC, Cohen-Kettenis PT, Gooren L, et al.,
The Journal of Clinical Endocrinology & Metabolism 2017; 102(11): 3869-903.


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        55.   An example of the poor-quality evidence that is driving clinical deci-

sion-making in the U.S. is one of the most frequently cited papers offered in support

of chest masculinization in minor females seeking to present as males.28

        56.   The principle author, Dr. Olson-Kennedy, is also an academic expert in

her capacity as Associate Professor of Clinical Pediatrics, Keck School of Medicine

of USC, and Medical Director of The Center for Transyouth Health and Develop-

ment in Los Angeles. She holds professional membership in The Society for Pediat-

ric Research, WPATH, and the Society for Adolescent Health and Medicine.

        57.   In their summary of findings, the authors report that “chest dysphoria”

is common among “trans males” (natal females seeking to present as males), and

that the dysphoria is decreased by surgery. They claim that regret for surgery is

“rare.” The article reports breast removal surgery on at least one girl aged 13 years.

The average age was 19. Children were entered into the study through recruitment

from among patients visiting the clinic and by telephone over a six-month period.

The authors found that patients recruited from among visitors to the clinic (conven-

ience sampling) yielded an abundance of non-operated patients, so they were forced

to reach out to all the post-surgical patients by phone. 26% of the clinic’s post-




28
  Chest Reconstruction and Chest Dysphoria in Transmasculine Minors and Young Adults: Com-
parisons of Nonsurgical and Postsurgical Cohorts, Johanna Olson-Kennedy J., Warus J, Okonta
V, Belzer M, and Clark LF, 2018 May 1;172(5):431-436. doi: 10.1001/jamapediatrics.2017.5440.


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surgical patients could not be reached for various reasons including no working

phone or failure to respond to multiple messages.

      58.    A 26% drop-out rate is never questioned by the authors. Were they lost

to follow up because of dissatisfaction, psychiatric hospitalization, or suicide? This

problem is called “self-selection bias” and is evidence of careless study design. Of

the remaining 74% of patients, only 72% of them (only 53% of the study patients)

completed the survey. This is a second example of self-selection bias. Why would

some post-surgical patients who had been successfully contacted not complete the

survey? The authors do not ask the question. The loss to follow-up of post-surgical

patients is a serious concern, particularly when the surgery is of such a serious nature

and intended to radically improve the life of the patient. In my experience, such loss

can result from outcomes that are so disappointing that the patient has lost confi-

dence in the abilities of the surgeon and does not return for follow-up care. Addi-

tionally, if major issues such as risk of medical complication, surgical complication

(as described above), or self-harm are involved, the patient may have come into the

care of other physicians including emergency medical and psychiatric providers, and

continuity of care has been broken.

      59.    In the study, dysphoria was measured using “a novel measure” (an un-

proven test instrument), which was a series of subjective questions about happiness.

Among the designers of this novel test instrument were some of the adolescent



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patients themselves. Their flawed methodology included the use of an entirely un-

validated test instrument, with no known error rates, or proven predictive power,

that was in part designed by the minors and young adults who were the subject of

the study. Subjective, psychological test instruments, such as Quality of Life sur-

veys, are the product of a long and laborious process of developing questions that,

when answered by the patient, will have some ability to distinguish very subtle psy-

chological processes of response in the patient. To ask an adolescent child, who has

no training in the development of psychological test instruments, and who is suffer-

ing from a DSM-V diagnosed psychological conflict, to write questions about that

very same psychological conflict, is a scientifically unsupportable decision on the

part of Olson-Kennedy et al.

        60.   Furthermore, the post-surgical patients were given the survey at varying

time intervals post-surgery. The longest interval between surgery and the satisfaction

survey was five years, but children less than a year post surgery were included in

their flawed sample, and yet the authors claim evidence of “negligible regret.” This

is a remarkable claim given that long term, longitudinal population studies show that

there is a dramatic rise in post-surgical problems such as depression, hospitalization,

substance abuse, and suicide beginning at around year seven post-surgery.29 The


29
   Long-term follow-up of transsexual persons undergoing sex reassignment surgery: cohort study
in Sweden, Dhejne C, Lichtenstein P, Boman M, Johansson ALV, Långström N, Landén M, PLoS
One 2011 Feb 22;6(2):e16885. doi: 10.1371/journal.pone.0016885.


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Olson-Kennedy paper is a low-quality Level-V document that has no prognostic

power since it was a poor sample of patients followed only briefly.

      61.    Having promised in the introduction to their paper that “chest dyspho-

ria” is reduced by surgery, at the conclusion the authors confess that the study design

and execution produced very low-quality data that is not useful for patient selection

or prediction of outcomes. They even confess that the study does not address the

efficacy of surgery in improving outcomes regarding the single most compelling

reason for performing the operation: mitigation of depression and suicide. The au-

thors write: “An additional limitation of the study was the small sample size. The

nonsurgical cohort was a convenience sample, recruited from those with appoint-

ments during the data collection period. There could be unknown imbalances be-

tween the nonsurgical and postsurgical cohorts that could have confounded the study

findings. Finally, the Chest Dysphoria Scale is not yet validated, and may not repre-

sent distress or correlate with validated measures of quality of life, depression, anx-

iety, or functioning.”

      62.    This paper is a typical example of a publications which are used to sup-

port transgender medicine and surgery, written by board-certified transgender expert

physicians who practice in our nation’s largest pediatric gender clinics, and pub-

lished in peer-reviewed medical journals. The article is essentially useless in making




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25.https://www.plasticsurgery.org/documents/medical-professionals/health-pol-
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Curriculum Vitae- Patrick W. Lappert, MD
Education and Training :

       — Bachelor of Arts in Biological Sciences at the University of California, Santa Barbara, 1979. Research in
cell membrane physiology with Dr. Philip C. Laris, studying stoichiometry of the sodium: potassium ATPase pump.

       — M.D., Doctor of Medicine degree at the Uniformed Services University of the Health Sciences, 1983 at
Bethesda, Md.

       — General Surgery Residency at the Naval Hospital Oakland/ UC Davis East Bay Consortium, 1987-1991

       — Chief Resident, Department of Surgery, Naval Hospital Oakland, 1990-1991.

       — Plastic Surgery Residency at the University of Tennessee- Memphis, 1992-1994.



       Board Certifications in Medicine :

       — Board Certified in Surgery — American Board of Surgery, 1992-2002

       — Board Certified in Plastic Surgery — American Board of Plastic Surgery, 1997-2018



       Medical Staff Appointments :

       — Staff General Surgeon at the Naval Hospital Oakland, CA 1991-1992

       — Associate Professor of Surgery, UC Davis-East Bay, 1991-1992.

       — Plastic and Reconstructive Surgeon, Naval Medical Center, Portsmouth, VA 1994-2002

       — Chairman, Department of Plastic and Reconstructive Surgery, Naval Hospital Portsmouth, VA 1996-2002.

      — Clinical Assistant Professor, Department of Surgery, Uniformed Services University of the Health Sciences,
1995-2002

      — Founding Director, Pediatric Cleft Palate and Craniofacial Deformities Clinic, Naval Hospital Portsmouth,
VA 1996-20002

       — Founding Director, Wound Care Center, Naval Hospital Portsmouth, VA 1995-2002.

       — Staff Plastic Surgeon in Nebraska, and Alabama.



       U.S.N. Surgeon General Service:

       — Specialty Leader, Plastic and Reconstructive Surgery, Office of the Surgeon General-USN, 1997-2002
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       Faculty Appointments:

       — Teaching Faculty at Eastern Virginia Medical School, Division of Plastic Surgery, 1995-2002



       Military Service :

       — Aviation Officer Candidate, Naval Aviation Schools Command, NAS Pensacola, 1978

       — Commissioned an Ensign, MC, USNR 1979 and Commissioned as a Lieutenant, MC, USN 1983 .

       — Designated Naval Flight Surgeon, Naval Aerospace Medical Institute, 1985

       — Flight Surgeon, Marine Fighter/ Attack Squadron-451

        — Radar Intercept Officer in the Marine F-4S Phantom, accumulating 235 flight hours, and trained for
qualification as an Air Combat Tactics Instructor.

        — Deployed to the Western Pacific as UDP forward deployed fighter squadron in Korea, Japan, and the
Philippines.

       — Service in the US Navy for 24 years

       — Service in the US Marine Corp. for 3 years.

       — Retired with the rank of Captain, USN in 2002



       Military Awards:

       — Navy Commendation Medal - For service with Marine Fighter/Attack Squadron - 451

       — Meritorious Unit Citation- 3rd award

       — Humanitarian Service Medal - For service in the aftermath of the Loma Prieta earthquake.



       Publications - Peer Reviewed Medical Journals :

       — Lappert PW. Peritoneal Fluid in Human Acute Pancreatitis. Surgery. 1987 Sep;102(3):553-4

       — Toth B, Lappert P. Modified Skin Incisions for Mastectomy: The Need for Plastic Surgical Input in
Preoperative Planning. J Plastic and Reconstructive Surgery. 1991; 87: 1048-53

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Reconstructive Surgery. 1996 Nov;98(6):1125

       — Lappert PW, Lee JW. Treatment of an isolated outer table frontal sinus fracture using endoscopic reduction
and fixation. P!astic and Reconstructive Surgery 1998;102(5):1642-5.



       Publications - Medical Textbooks:

       — Wound Management in the Military. Lappert PW, Weiss DD, Eriksson E. Plastic Surgery: Indications,
Operations, and Outcomes, Vol. 1; 53-63. Mosby. St. Louis, MO 2000

         Operations and Clinical Experience - Consultations and Discussions : As a physician and surgeon, I have
treated many thousands of patients in 7 states and 4 foreign nations. My practice has included Primary Care, Family
Medicine, Aerospace Medicine, General Surgery, Reconstructive Surgery for combat injured, cancer reconstructive
surgeries including extensive experience with microvascular surgery, Pediatric Congenital Deformity, and the care of
chronic wounds. I have practiced in rural medicine, urban trauma centers, military field hospitals, university teaching
hospitals, and as a solo private practitioner. In my private practice I have had occasion to treat many self-identified
transgender patients for skin pathologies related to their use of high dose sex steroids, laser therapies for management
of facial hair both in transitioners and detransitioners. I have performed breast reversal surgeries for detransitioning
patients. My practice is rated as "LGBTQ friendly" on social media. I have consulted with families with children who
are experiencing gender discordance. I have given many presentations to professional meetings of educators and
counselors on the subject of transgender, and the present state of the science and treatment. I have discussed the
scientific issues relevant to the case with many physicians and experts over a number of years and also discussed
related issues with parents and others.
